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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

UNITED STATES OF AMERICA                             )        Criminal Action No. 7:12CR00042-5
                                                     )
v.                                                   )        MEMORANDUM OPINION
                                                     )
MARCHETTA ANITA JONES,                               )        By: Michael F. Urbanski
    Defendant.                                       )        United States District Judge

        Marchetta Anita Jones, a federal inmate proceeding pro se, has moved to vacate, set

aside, or correct her sentence, pursuant to 28 U.S.C. § 2255. The government has filed a motion

to dismiss, and the time allotted for Jones to respond has expired, making this matter ripe for

consideration.1 Upon review of the record, the court concludes that Jones has not stated any

claim for relief under § 2255 and that the government’s motion to dismiss must be granted.

                                                         I.

        A federal grand jury charged Jones and ten codefendants in a seven-count indictment.

Jones was charged with count one, conspiracy to distribute one thousand kilograms or more of

marijuana, in violation of 21 U.S.C. § 846, and counts two and three, conspiracy to commit

money laundering, in violation of 18 U.S.C. § 1956(h).2                    On December 10, 2012, a plea

agreement was filed with the court pursuant to Rule 11 of the Federal Rules of Criminal

Procedure, which was fully endorsed by Jones, her counsel, and the Assistant United States

Attorney. In the plea agreement, Jones stipulated that she was responsible for between 400 and

700 kilograms of marijuana. (Plea Agreement at 3, Dkt. No. 226.) Jones agreed to waive her

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            The government filed an affidavit from Jones’s former counsel with its motion to dismiss. The court may
consider a motion to dismiss submitted with additional affidavits or documents outside the pleadings as a motion for
summary judgment governed by Rule 56 of the Federal Rules of Civil Procedure. Fed. R. Civ. Pro. 12(d).
However, because the court does not rely on the affidavit from counsel, it will not convert the government’s motion
to dismiss into a motion for summary judgment.
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           Counts four, five, six, and seven charged certain codefendants with distribution of a measurable quantity
of marijuana, in violation of 21 U.S.C. § 841(a)(1).
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right to appeal and collaterally attack the judgment, with the exception that she preserved her

right to file a collateral attack based on ineffective assistance of counsel. (Id. at 8-9.) Jones also

agreed to “willingly stipulate there is a sufficient factual basis to support each and every material

factual allegation contained within the charging document(s) to which [she was] pleading

guilty.”3 (Id. at 12).

        On July 28, 2014, Jones pleaded guilty to a lesser included offense of count one,

conspiracy to distribute more than 100 kilograms of marijuana, and to count two, conspiracy to

commit money laundering. During the guilty plea hearing, the government stated that Jones

“would be held responsible for between 400 and 700 kilograms of marijuana.” (Plea Hr’g Tr. at

4, Dkt. No. 439.) Jones affirmed that she had received a copy of the indictment pending against

her and had “fully discussed those charges and this case in general with [her] counsel.” (Id. at

7.) She further affirmed that she had read and understood the plea agreement, and that no one

had “made any other or different promises or assurance[s] to [her] of any kind in an effort to

induce [her] to enter a plea of guilty.” (Id. at 8-9.) Jones also affirmed that she understood she

was waiving her right to collaterally attack her plea and sentence and that she understood that if

“the sentence is more severe than [she] expected it to be” she would still be bound by her plea.

(Id. at 17-18.) She affirmed she was “pleading guilty because [she was] in fact guilty . . . .” (Id.

at 19.) The court found that Jones was “fully competent and capable of entering an informed

plea and that [her] pleas of guilty were knowing and voluntary” and accepted her plea of guilty.

(Id. at 24-25.)

        On June 6, 2013, the court conducted Jones’s sentencing hearing, where Jones was

present with counsel.        During the sentencing hearing, the court adopted the Presentence

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           The plea agreement also provided that the government agreed to recommend a sentence at the low end of
the applicable guideline range and a three-level reduction for acceptance of responsibility.


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Investigation Report (“PSR”) and the parties did not object. The PSR proposed a total offense

level of 27 and a criminal history category of VI, resulting in a guideline range of imprisonment

of 130 to 162 months.4 (PSR at 27, Dkt. No. 362.) The court imposed a sentence of 130 months

imprisonment, and Jones did not appeal.

         In her § 2255 motion, Jones claims that counsel provided ineffective assistance by (1)

failing to challenge the government’s breach of the plea agreement; (2) failing to challenge the

plea agreement for lacking information regarding her potential sentence; and (3) failing to

explain the elements of money laundering. Jones also claims that the court failed to provide a

basis for the sentence imposed and that her sentence was too severe compared to the sentences of

her codefendants. Finally, Jones moves the court to apply the holding in Alleyne v. United

States, __ U.S. __, 133 S. Ct. 2151 (2013), to the facts of her case. The court finds that Jones’s

motion to vacate fails and will be dismissed.

                                                         II.

         To state a claim for relief under § 2255, a petitioner must prove that one of the following

occurred: (1) that her sentence was “imposed in violation of the Constitution or laws of the

United States”; (2) that “the court was without jurisdiction to impose such a sentence”; or (3) that

“the sentence was in excess of the maximum authorized by law, or is otherwise subject to

collateral attack.” 28 U.S.C. § 2255. Jones bears the burden of proving grounds for a collateral

attack by a preponderance of the evidence. Jacobs v. United States, 350 F.2d 571, 574 (4th Cir.

1965); Hall v. United States, 30 F. Supp. 2d 883, 889 (E.D. Va. 1998).




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           Had Jones elected to go to trial, she might not have received credit for acceptance of responsibility, which
would have produced an offense level of 30 and increased the guideline custody range to 168 to 210 months. (PSR
at 28, Dkt. No. 362.)

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        To establish a claim of ineffective assistance of counsel, Jones must satisfy the two-

pronged test set forth in Strickland v. Washington, 466 U.S. 668, 671 (1984).5 The first prong of

Strickland requires a petitioner to show “that counsel made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment,” meaning that

counsel’s representation fell below an objective standard of reasonableness. Id. at 687-88.

Courts apply a strong presumption that counsel’s performance was within the range of

reasonable professional assistance. Id. at 689; see also Fields v. Att’y Gen. of Md., 956 F.2d

1290, 1297-99 (4th Cir. 1992); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983).

        The second prong of Strickland requires a petitioner to show that counsel’s deficient

performance prejudiced him by demonstrating a “reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Strickland, 466 at

694. A petitioner who pleaded guilty must demonstrate that, but for counsel’s alleged error,

there is a reasonable probability that he would not have pleaded guilty and would have insisted

on going to trial. Hill v. Lockhart, 474 U.S. 52, 59 (1985). “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Strickland, 466 U.S. at 694.

        Jones fails to show both deficient performance and resulting prejudice as required by

Strickland.

                                                       III.

        A. Ineffective Assistance of Counsel Claims

        Jones claims that counsel provided ineffective assistance by failing to challenge the

government’s breach of the plea agreement. In support, Jones argues that she agreed to plead

guilty to “conspiracy to distribute more than 100 kilograms of marijuana, but the sentence was

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            If a petitioner has not satisfied one prong of the test, a court does not need to inquire whether he has
satisfied the other prong. Id. at 697.

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based on [400-700] kilograms of marijuana.”                     (Mot. to Vacate at 1, Dkt. No. 433-1.)

Jones claim fails because she has not shown that the government breached the plea agreement.

Jones pleaded guilty to a lesser included offense of Count One, conspiracy to distribute more

than 100 kilograms of marijuana. (Plea Agreement at 1, Dkt. No. 226) (emphasis added). The

plea agreement plainly did not limit the amount of marijuana to 100 kilograms; indeed, it

specifically provided that Jones would be held responsible for 400 to 700 kilograms of

marijuana. (Id. at 3.) Moreover, during the guilty plea hearing, the government summarized the

terms of the plea agreement, including that “[Jones] would be held responsible for between 400

and 700 kilograms of marijuana.” (Plea Hr’g Tr. at 4, Dkt. No. 439.) Counsel is not ineffective

for failing to raise an objection or make a motion for which there is “no obvious basis.” Clanton

v. Bair, 826 F.2d 1354, 1359 (4th Cir. 1987).

         Likewise, Jones cannot show counsel provided ineffective assistance for failing to

challenge her plea agreement on the grounds that it lacked information regarding her potential

sentence.     In fact, Jones’s plea agreement did contain information regarding her potential

sentence. The plea agreement specifically advised of the possible maximum and minimum

penalties, as well as the agreed sentencing guidelines range. (Plea Agreement at 1-2, 3, Dkt. No.

226.) In the plea agreement, Jones agreed that she “under[stood] the court is not bound by any

recommendations or stipulations contained in this agreement and may sentence me up to the

maximum provided by law.”6 (Id. at 12.) Thus, because Jones’s plea agreement contained

sufficient information regarding her potential sentence, counsel had no reason to object. See

Clanton, 826 F. 2d. at 1359.

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           Moreover, Jones argument that her total offense level should have been 25 and her sentencing guideline
range should have been 57 to 71 months imprisonment, instead of 130 to 162 months imprisonment, relies on a
faulty application of the guidelines. First of all, Jones’s incorrect guideline calculations assume a criminal history
category of I, but her actual criminal history category was VI. Second, Jones’s total offense level was properly
calculated as 27.

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        Finally, Jones’s claim that she is dissatisfied with counsel’s representation for failing to

explain the elements of money laundering is contradicted by Jones’s affirmances under oath

during her plea colloquy.      Jones affirmed that she was “fully satisfied with the counsel,

representation, and advice given in this case by [her] attorney.” (Guilty Plea Hr’g Tr. at 7, Dkt.

No. 439.) Jones further affirmed that she had read, understood, and signed the plea agreement.

(Id. at 8-9.) Specifically, the court asked, “Is there anything about [your plea agreement] you do

not understand,” and Jones responded, “No, sir.” (Id. at 9.) Thereafter, the court explained the

elements of the money laundering count to Jones, and asked, “[H]as your counsel explained to

you the elements of Count Two, the money laundering count, and do you understand those

elements?” (Id. at 14.) Jones responded, “Yes, Sir.” (Id.) Jones also affirmed that she was

“pleading guilty because [she was] in fact guilty . . .” (Id. at 19.) Absent extraordinary

circumstances, “allegations in a § 2255 motion that directly contradict the petitioner’s sworn

statements during a properly conducted Rule 11 colloquy are always palpably incredible and

patently frivolous or false.” United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005)

(internal quotation marks omitted). Accordingly, these ineffective assistance claims will be

dismissed.

        B. Basis for Sentence Imposed

        Jones claims that the court failed to provide a basis for the sentence imposed and that the

judgment does not show how “the 130 months was derived.” (Mot. to Vacate at 3, Dkt. No. 433-

1.) However, this claim is barred by Jones’s plea agreement, which waives her right to collateral

attack except for claims of ineffective assistance of counsel. (Plea Agreement at 9, Dkt. No.

226).   “A criminal defendant may waive his right to attack his conviction and sentence

collaterally, so long as the waiver is knowing and voluntary.” Lemaster, 403 F. 3d. at 220.



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Whether a waiver is knowing and voluntary requires evaluation of the “adequacy of the plea

colloquy,” with “reference to the totality of the circumstances.” United States v. Copeland, 707

F.3d 522, 528 (4th Cir. 2013) (internal quotation marks and citation omitted). “Generally, if a

district court questions a defendant regarding the waiver of appellate rights during the Rule 11

colloquy and the record indicates that the defendant understood the full significance of the

waiver, the waiver is valid.” Id. (quoting United States v. Thornsbury, 670 F.3d 532, 357 (4th

Cir. 2012)).

         The record establishes that Jones entered a knowing and voluntary guilty plea, and she

affirmed her understanding that she was waiving her right to collaterally attack the judgment and

sentence. (Plea Hr’g Tr. at 17, Dkt. No. 439.) Jones also affirmed that she understood that if

“the sentence is more severe than [she] expected it to be” she would still be bound by her plea.

(Id. at 17-18.) Jones’s claim that the court failed to provide a basis for the sentence imposed falls

within the scope of the collateral attack waiver in the Plea Agreement, and consequently, this

claim must be dismissed.7

         C. Sentence Disparity

         Jones claims that her sentence was too severe, arguing that she performed a “minor

function” in the conspiracy, and that she “should not have received a sentence any longer than

the lowest of the other co-conspirators.” (Mot. to Vacate at 3, Dkt. No. 433-1.) This claim is

also barred by Jones’s plea agreement, waiving her right to collateral attack except for claims of

ineffective assistance of counsel. See Lemaster, 403 F. 3d. at 220.

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           This claim also fails on its merits because a review of the record shows that the court provided a clear
basis for the sentence imposed. The judgment entered in this case indicates that the sentence of 130 months
imprisonment is based on Jones’s guilty plea to a lesser included offense of Count One, and to Count Two.
(Judgment at 1-2, Dkt. No. 360.) Furthermore, at the sentencing hearing, the court specified Jones’s total offense
level, criminal history category, and the resulting guidelines sentencing range of 130 to 162 months. (Sentencing
Hr’g Tr. at 4, Dkt. No. 440.) Finally, the Court specifically stated it had considered the § 3553(a) sentencing factors
in imposing the sentence. (Id. at 17.)


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         Moreover, Jones has not shown that her sentence was unconstitutionally disparate from

her codefendants. “[I]t is well settled that codefendants and coconspirators may be sentenced

differently for their commission of the same offense.” United States v. Rodriguez, 473 F. App’x

310, 311 (4th Cir. 2012) (unpublished) (citing United States v. Pierce, 409 F.3d 228, 235 (4th

Cir. 2005)).      “A criminal sentence violates the Equal Protection Clause only if it reflects

disparate treatment of similarly situated defendants lacking any rational basis.” Pierce, 409 F.3d

at 234; see also United States v. Ellis, 975 F.2d 1061, 1065-66 (4th Cir. 1992) (recognizing that

an otherwise proper sentence cannot be challenged on the basis of an alleged disparity between

sentences of codefendants).           In addition, the court specifically considered Jones’s criminal

history, and the factors in 18 U.S.C. § 3553(a) when imposing her sentence.8 (Sentencing Hr’g

Tr. at 16-17, Dkt. No. 440). Accordingly, this claim will be dismissed.9

         D. Alleyne

         Finally, Jones “moves to have . . . Alleyne [133 S. Ct. 2151] applied to this case.” (Mot.

to Vacate at 5, Dkt. No. 43-1.) In Alleyne, the Supreme Court held that any fact increasing the

mandatory minimum penalty for an offense must be alleged in the indictment and proven beyond

a reasonable doubt to a jury. 133 S. Ct. at 2156. However, Alleyne does not apply to the instant


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          Jones suggests she might have been “confused with one of the other co-conspirators” and characterizes
her criminal history as “minor shoplifting charges . . . which would not cause her sentence to be enhanced.” (Mot.
to Vacate at 4, Dkt. No. 433-1.) However, the court clearly did not confuse her with another defendant and provided
an overview of her lengthy criminal history at sentencing, stating, “[I]t’s just hard to fathom how all this can keep
happening . . . I mean, it really appears that you probably are virtually unsupervisable.” (Sentencing Hr’g Tr. at 16,
Dkt. No. 440.)
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           To the extent that Jones claims her counsel provided ineffective assistance regarding her sentence, this
claim also lacks merit because counsel argued at sentencing that Jones’s sentence should reflect her minor role in the
conspiracy and asked for a variance below the guidelines. At the sentencing hearing, Jones’s counsel asked for a
variance of 110 months. Counsel argued, “[Jones’s] drug weight actually is probably the lowest among all the
people involved in this conspiracy, and that’s because she was certainly at the low end, if not the lowest, in terms of
her participation in this [] criminal enterprise.” (Sentencing Hr’g Tr. at 10, Dkt. No. 440.) Counsel also spoke
specifically regarding Jones’s criminal history, stating “Her criminal history category is VI almost entirely because
she has this extraordinary record of larceny convictions going back many years.” (Id. at 11.)


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case because Jones’s statutory mandatory minimum sentence was not increased.10 Jones pleaded

guilty to facts subjecting her to a five-year mandatory minimum sentence and a statutory 40-year

maximum sentence. That Jones’s sentencing guidelines range proposed 130 to 162-months

imprisonment, due in large part to her extensive record of larceny convictions, does not implicate

Alleyne. Even after Alleyne, application of the sentencing guidelines is a question of fact to be

resolved by the sentencing court and not the jury. See United States v. Holder, 549 F. App’x.

214, 215 (4th Cir. 2014) (unpublished) (“[T]he factual findings needed to calculate a defendant’s

advisory Guidelines range are still within the district court’s province.”); see also United States

v. Booker, 543 U.S. 220, 233 (2005) (“[W]hen a trial judge exercises his discretion to select a

specific sentence within a defined range, the defendant has no right to a jury determination of the

facts that the judge deems relevant.”). Accordingly, Alleyne does not apply and this claim will

be dismissed.

                                                             IV.

        For the reasons stated herein, the court will grant the government’s motion to dismiss.

                                                     Entered: June 19, 2015
                                                     /s/ Michael F. Urbanski
                                                     Michael F. Urbanski
                                                     United States District Judge




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            Moreover, the court imposed judgment against Jones on June 6, 2013, and Alleyne was decided on June
17, 2013. The holding in Alleyne has not been made retroactively applicable to cases on collateral review. See, e.g.,
United States v. Stewart, 540 F. App’x 171, 172 n.* (4th Cir. 2013) (unpublished) (noting that “Alleyne has not been
made retroactively applicable to cases on collateral review”); Oscar v. United States, No. 2:93cr131, 2015 U.S. Dist.
LEXIS 1602, at *4, 2015 WL 104727, at *2 (E.D. Va. Jan. 6, 2015); Williams v. United States, No. 4:09cr39, 2014
U.S. Dist. LEXIS 15872, at *19, 2014 WL 526692, at *4 (W.D. Va. Feb. 7, 2014).

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